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                            IN THE UNITED STATES DISTRICT
                                COURT FOR THE DISTRICT OF
                                COLUMBIA


 UNITED STATES OF AMERICA,
                                                       Criminal No.: 1: 22-cr-00354-RCL-1 and 2
 -v-
                                                       DEFENDANTS REPLY TO
 RICHARD SLAUGHTER, and CADEN
                                                       GOVERNMENTS
 GOTTFRIED,                                            OPPOSITION REGARDING
                        Defendants.                    DEFENDANTS’ MOTION
                                                       FOR CONTINUANCE DUE
                                                       TO SUPERSEDING
                                                       INDICTMENT



DEFENDANTS’ REPLY TO GOVOERNMENT’S OPPOSITION REGARDING DEFENDANTS’ MOTION
FOR CONTINUANCE DUE TO SUPERSEDING INDICTMENT

Defendants Rick Slaughter and Caden Go�ried, by and through undersigned counsel John

Pierce, with this mo�on for an extension of �me for Defendants and Defense counsel to

address, research, and ﬁle pretrial mo�ons regarding the recent Superseding Indictment in this

case.



       1. Mr. Slaughter and Mr. Go�ried are en�tled to the right to a con�nuance a�er a

          superseding indictment. In United States v. Torres-Rodriguez, 930 F.2d 1375 (9th Cir.

          1991), three days prior to trial, the government obtained a superseding indictment

          which added a conspiracy and lengthened another conspiracy. According to United

          States v. Rojas-Contreras, 474 U.S. 231 (1985), “to avoid prejudicing a defendant, a

          con�nuance should be granted where there is a meaningful possibility that a
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       superseding indictment will require an altera�on or adjustment in the planned defense.”

       This is the case here.

   2. Note that even a basic full round of mo�on prac�ce takes at least 30 days for submission

       and review of a mo�on to dismiss. Given that the trial is currently scheduled for early

       December, this would place the defendants in extreme disadvantage and prejudice.

   3. Both defendants waive the tolling of speedy trial clocks.



Here, the government’s superseding indictment has four changes. It is asser�ng a new

111(a)(1) and (b) and 2 count against Mr. Slaughter (Count 3 of the superseding indictment).

For these reasons, the defense counsel requires a con�nuance.



Dated: October 30, 2023

                                                                         Respec�ully Submited,

                                                                              /s/ John M. Pierce
                                                                                   John M. Pierce
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                                   CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, October 30, 2023, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                /s/ John M. Pierce
                                                John M. Pierce
